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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 PIKEVILLE DIVISION
                                      CIVIL NO:


BILLY COMBS & SANDY COMBS                                                       PLAINTIFFS



VS.                                      COMPLAINT



RGS FINANCIAL, INC                                                             DEFENDANT
1700 Jay Ell Dr., Suite 200
Richardson, TX 75081

       Serve: National Corporate Research LTD
              828 Lane Allen Rd., Suite 219
              Lexington, KY 40504



                                   ***************


       Come now the Plaintiffs, BILLY COMBS and SANDY COMBS (“Plaintiffs”), by and

through undersigned counsel, and for their Complaint against Defendant, RGS FINANCIAL,

INC. (“Defendant”), allege and affirmatively state as follows:

                                      INTRODUCTION

       1.      Count I of Plaintiffs’ Complaint is based on the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692, et seq.

                                           PARTIES

       2.      Plaintiffs, Billy Combs and Sandy Combs, are citizens and residents of Knott

County, Kentucky. The Plaintiffs are “consumers” as that term is defined by 15 U.S.C. §

1692a(3).
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          3.       Defendant, RGS Financial, Inc, is a corporation, organized under the laws of the

State of Texas, with principal office located at 1700 Jay Ell Dr., Suite 200, Richardson, TX

75081.         The Defendant’s registered agent in the Commonwealth of Kentucky is National

Corporate Research, LTD, located at 828 Lane Allen Rd, Suite 219, Lexington, KY 40504. The

Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6), and sought to

collect a consumer debt from Plaintiffs.

                                      JURISDICTION AND VENUE

          4.       Jurisdiction is conferred on this Court pursuant to 15 U.S.C. § 1692k(d), which

states that actions arising under the FDCPA may be brought and heard before “any appropriate

United States district court without regard to the amount in controversy.”

          5.       This Court has personal jurisdiction over the Defendant. The Defendant conducts

business in the Commonwealth of Kentucky; the Defendant purposefully contacted the Plaintiffs,

who reside within the Commonwealth of Kentucky, in an effort to collect a debt allegedly owed

by the Plaintiffs; and, the Defendant is registered with the Kentucky Secretary of State to

conduct business within the Commonwealth of Kentucky.

          6.       Venue in this District is appropriate pursuant to 28 U.S.C. § 1391(b)(2), as “a

substantial part of the events or omissions giving rise to the claim[s]” herein occurred within this

District.

                                               FACTS

          7.       The Plaintiffs purchased a vehicle in approximately 1988, with financing through

Marine Midland Bank.

          8.       The Plaintiffs’ vehicle was subsequently repossessed, in approximately 1989, and

there was a deficiency remaining on the account after the vehicle was sold (hereinafter “the

debt”).

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         9.      Through information and belief, the debt was sold by Marine Midland Bank, and

eventually a company named S & P Capital Investments attempted to collect the debt.

         10.     S & P Capital Investments continued to attempt to collect the debt from the

Plaintiffs, eventually obtaining a judgment against the Plaintiffs, and causing a judgment lien to

be placed upon real property owned by the Plaintiffs in Knott County, Kentucky.

         11.     On or about August 14, 2002, the Plaintiffs filed for bankruptcy protection under

Chapter 7 of the United States Bankruptcy Code. The Plaintiffs’ case was filed in the United

States Bankruptcy Court for the Eastern District of Kentucky, and was assigned case number 02-

74038.

         12.     S & P Capital Investments was listed the Plaintiffs’ Schedules and Statements,

and received actual notice of the Plaintiffs’ bankruptcy.

         13.     An Order of Discharge was entered on or about December 10, 2002.

         14.     The Plaintiffs allege that the Order of Discharge included the debt allegedly owed

to Marine Midland/S & P Capital Investments.

         15.     Through information and belief, the debt was subsequently obtained by the

Defendant, who had actual notice of the Plaintiffs’ bankruptcy case, and the discharge of the debt

in bankruptcy.

         16.     On or about January 26, 2012, the Plaintiffs were contacted by telephone by

someone identifying themselves as “Paul,” attempting to collect $2,957.00 on the debt originally

owed to Marine Midland Bank. “Paul” said that he would be willing to accept a credit card

payment for the account over the phone.




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       17.     Plaintiff Billy Combs spoke with “Paul,” and indicated that the debt had been

discharged in bankruptcy, and also that it was his belief that the statute of limitations to collect

on the debt had long since expired.

       18.     “Paul” indicated that he was aware of the Plaintiffs’ bankruptcy case, but that

there “was a problem” with the case, and that the debt had not actually been discharged.

       19.     “Paul” also falsely told Plaintiff Billy Combs that the statute of limitations on the

debt had not expired.

       20.     Plaintiff Billy Combs was surprised and alarmed that he was being told that the

debt had not been discharged. The debt was the primary reason that the Plaintiffs had declared

bankruptcy in 2002, and he was extremely concerned that the collectors were going to try to

place a lien on his property, or force him to declare bankruptcy again.

       21.     “Paul” subsequently called back on or about February 1, 2012, and again on

February 2, 2012. Upon questioning from Plaintiff Billy Combs about what address would need

to be used to send correspondence to the collector, “Paul” indicated that he was an employee of

RGS Financial, Inc. with an address of 1700 Jay Ell Dr., Suite 200, Richardson TX 75080.

       22.     Defendant called Plaintiff from 469-341-3352 and possibly other numbers.

       23.     When questioned by Plaintiff Billy Combs regarding the account, “Paul” again

indicated that the account had originally belonged to Marine Midland Bank.

       24.     At no time within the five-day period following the initial communication with

the Plaintiffs, nor any time subsequent to the five-day period, did the Defendant provide the

Plaintiffs with the verification letter as required by § 1692g.




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                                           COUNT I
                     (Fair Debt Collection Practices Act – 15 § 1692 et seq.)

       25.      The allegations in the above paragraphs of this complaint are realleged and

incorporated herein by this reference.

       26.      The Defendant violated the following provisions of the FDCPA:

                a. Defendant violated 15 U.S.C. §1692d by engaging in conduct that the natural

                    consequences of which was to harass, oppress, and abuse the Plaintiffs in

                    connection with the collection of the debt.

                b. Defendant violated 15 U.S.C. §1692e by using false, deceptive, and

                    misleading representations in connection with the collection of the debt.

                c. Defendant violated 15 U.S.C. §1692e(2)(A) by falsely representing the

                    character, amount and legal status of the debt.

                d. Defendant violated 15 U.S.C. §1692e(10) by using false representations and

                    deceptive means to collect the debt.

                e. Defendant violated 15 U.S.C. §1692g(a)(1)-(5) by failing to provide the

                    required notice of debt within five days after the initial communication with

                    the Plaintiffs.



       WHEREFORE, the Plaintiffs, Billy and Sandy Combs, having set forth their claims for

relief against the Defendant, respectfully request judgment be entered against the Defendant,

RGS Financial, for the following:

       A. Declaratory judgment that Defendant’s conduct violated the Fair Debt Collection

             Practices Act;




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        B. That the Plaintiffs each have and recover against the Defendant, statutory damages of

             $1,000.00 for the violations of the Fair Debt Collection Practices Act;

        C. That the Plaintiffs have and recover against the Defendant a sum to be determined by

             the Court in the form of actual damages;

        D. That the Plaintiffs have and recover against the Defendant, costs and reasonable

             attorneys’ fees pursuant to 15 U.S.C. 1692k of the Fair Debt Collection Practices Act;

        E. Any other relief that this Honorable Court deems appropriate.

                                  DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiffs, BILLY and SANDY COMBS, demand a jury

trial in this case.

DATED: May 16, 2012.



                                                                                 /s/ Noah R. Friend
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